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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

CRYSTAL MARIE COURSEY,

Plaintiff,                                             Case No 3:18-cv-00040-C

        v.                                             Honorable Sam R. Cummings

CENTRAL CREDIT SERVICES, LLC,

Defendant.


                                    NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that CRYSTAL MARIE COURSEY (“Plaintiff”), hereby

notifies the Court that the Plaintiff and Defendant, have settled all claims between them in this

matter and are in the process of completing the final closing documents and filing the dismissal.

The Parties anticipate this process to take no more than 60 days and request that the Court retain

jurisdiction for any matters related to completing and/or enforcing the settlement. The Parties

propose to file a stipulated dismissal with prejudice with 60 days of submission of this Notice of

Settlement and pray the Court to stay all proceedings until that time.

Respectfully submitted this 24th day of April, 2018.



                                                             s/ Nathan C. Volheim
                                                             Nathan C. Volheim
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Nathan C. Volheim_____
                                                              Nathan C. Volheim




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